         Case 3:18-md-02843-VC Document 901 Filed 03/31/22 Page 1 of 3




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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION



IN RE: FACEBOOK, INC. CONSUMER                       CASE NO. 3:18-MD-02843-VC
PRIVACY USER PROFILE LITIGATION,
                                                     NOTICE CONCERNING FACEBOOK,
                                                     INC.’S ADMINISTRATIVE MOTION TO
This document relates to:                            TEMPORARILY FILE UNDER SEAL
                                                     SPECIAL MASTER’S ORDER
ALL ACTIONS




 NOTICE CONCERNING FACEBOOK, INC.’S ADMINISTRATIVE MOTION TO TEMPORARILY FILE UNDER SEAL SPECIAL
                                         MASTER’S ORDER
                                    CASE NO. 3:18-MD-02843-VC
           Case 3:18-md-02843-VC Document 901 Filed 03/31/22 Page 2 of 3




          Facebook, Inc. (“Facebook”) hereby submits this Notice Concerning Facebook’s

Administrative Motion to Temporarily File Under Seal the Special Master’s March 22, 2022

Order Following March 9, 2022 Hearing Regarding Plaintiffs’ Motion To Compel Production Of

Plaintiff Data (the “Order”). Dkt. 893. Facebook has carefully reviewed the information at issue

and does not seek to redact any portion of the Order. The unredacted version of the Order filed

at Dkt. 893-3 may be unsealed, and Facebook will file an unredacted version of the Order on the

docket.




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 NOTICE CONCERNING FACEBOOK, INC.’S ADMINISTRATIVE MOTION TO TEMPORARILY FILE UNDER SEAL SPECIAL
                          MASTER’S ORDER CASE NO. 3:18-MD-02843-VC
        Case 3:18-md-02843-VC Document 901 Filed 03/31/22 Page 3 of 3




Dated: March 31, 2022                   GIBSON, DUNN & CRUTCHER, LLP

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